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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   CENTRAL DIVISION

 TRACY JOHNSON                                                                       PLAINTIFF

 V.                               CASE NO. 4:20-CV-350-JM

 WALMART                                                                           DEFENDANT


                                   ORDER OF DISMISSAL

        Pursuant to the Joint Stipulation of Dismissal with Prejudice (ECF No. 28), the Court finds

that this case should be dismissed. The pending motions (ECF Nos. 23, 25) are moot, and the Clerk

is directed to close the case.

        IT IS SO ORDERED this 23rd day of October, 2023.




                                             James M. Moody Jr.
                                             United States District Judge
